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         Appeal Nos. 20-72749 (Consolidated with 20-71765 (L) and
                                20-72734)

                            UNITED STATES COURT OF APPEALS

                                FOR THE NINTH CIRCUIT


                        CITY OF BOSTON, MASSACHUSETTS, et al.

                                                         Petitioners,

                                               v.

          FEDERAL COMMUNICATIONS COMMISSION and UNITED
                      STATES OF AMERICA,

                                                         Respondents.

                        ON PETITION FOR REVIEW OF AN ORDER
                         OF THE FEDERAL COMMUNICATIONS
                                    COMMISSION

                              REPLY BRIEF OF PETITIONERS



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                           SUMMARY OF ARGUMENT

         Respondent Federal Communications Commission (FCC or

Commission) failed its obligation on multiple counts. It used a legally

deficient process to pursue an impermissible goal: changing its rules

without the procedures and considerations required by the

Administrative Procedure Act (APA) as governed by State Farm. The

Commission did not only fail procedurally; substantively, its decision is

arbitrary and capricious.

         In this Reply, Petitioners Boston et al. (Boston) show the FCC and

Respondent industry intervenors (CTIA) do not overcome Petitioners’

opening briefs which demonstrated that the FCC abused agency power,

exceeded its statutory authority and produced an arbitrary and

capricious result.

         Specifically, neither the FCC nor CTIA can point to any

meaningful limit in the Ruling on new cabinet deployments that

distinguishes substantial from insubstantial changes as required by

law. The FCC’s interpretation is not justified by a close adherence to the

rules’ text. And the FCC’s argument—that its rules, in effect, prohibit

only a change that would exceed the physical maximum load able to be


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born on a support structure—demonstrates its rule deprives the

statutory term “substantially change” of all rational meaning.

         Further, the FCC’s decision to require “express evidence” of land

use permit conditions does not deserve deference under the Supreme

Court’s decision in Kisor because the FCC did not claim or employ any

expertise in land use permitting and because retroactively interpreting

rules to avoid accountability and APA process is precisely the behavior

warned against in Kisor. The FCC incorrectly claims valid APA notice

based on an unpublished draft order with a two week opportunity for ex

parte filings, a claim rejected by two other circuits. Further, Boston

explains the express evidence ruling is arbitrary and capricious because

it does not fit the problems complained of in the record or by CTIA on

brief—it eliminates a wide range of permit conditions lawfully adopted

and enforceable under state law which are not the post hoc conditions

the FCC intended to address.

         Boston et al. establishes that, among other flaws, the FCC and

CTIA briefs demonstrate that the FCC’s Ruling redefining concealment

is arbitrary and capricious because it does not explain or acknowledge

its changed decision. The shot clock rule can arbitrarily require federal


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deemed granted approval of proposed modifications via expiration of the

federal shot clock no matter whether they have demonstrated

compliance with safety regulations.

         Throughout, Boston explains that the FCC does not abide by the

limits of any regulatory procedure, attempting to combine light touch

interpretive procedures with the adoption of binding obligations. The

FCC noticed a petition for declaratory ruling, which, by its terms,

cannot propose rule changes, thereby limiting the scope of proposals

parties could make in the record. Nonetheless, the FCC justifies the

Ruling as full rulemaking compliant with the APA, even though it did

not fully consider alternatives or justify changes as the APA requires.

         Boston endorses the arguments on Reply of Petitioners League of

California Cities et al. (LOCC Reply).

                                        ARGUMENT

I.       NO READING OF THE STATUTE, RULES OR POLICY CAN
         JUSTIFY UNLIMITED INCREASES IN THE SIZE AND
         NUMBER OF CABINETS AS AN INSUBSTANTIAL
         CHANGE.

         In the decision under review, In the Matter of Implementation of

State & Local Governments’ Obligation to Approve Certain Wireless

Facility Modification Requests Under Section 6409(a) of the Spectrum

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Act of 2012, Declaratory Ruling and Notice of Proposed Rulemaking, 35

FCC Rcd. 5977 (2020) (“Ruling”), the FCC concluded that: 1) a small

piece of equipment enclosed in housing did not count as a “cabinet”

under the rules adopted in its 6409 Rulemaking;1 2) wireless companies

will receive automatic, streamlined approval of unlimited additional

cabinets under Section 6409 as long as they are proposed as a series of

changes. In neither case did the FCC consider whether these changes

fell within the statutory constraint that, to be eligible for streamlined

treatment, modifications may not “substantially change the physical

dimensions of such tower or base station.” 47 U.S.C. § 1455(a)(1).

         A.        The FCC Articulates No Identifiable Limit on
                   Additional Cabinets.

         Neither the FCC nor CTIA can point to any meaningful limit in

the Ruling that distinguishes substantial from insubstantial changes as

required by law. The FCC’s interpretation is not mandated by the rules’

text and would unquestionably permit streamlined approval of




1In re Acceleration of Broadband Deployment by Improving Wireless
Facilities Siting Policies, 29 FCC Rcd. 12865 (Oct. 17, 2014), amended
30 FCC Rcd. 31 (Jan. 5, 2015), aff’d Montgomery Cty. v. FCC, 811 F.3d
121 (4th Cir. 2015) (“6409 Rulemaking”).
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multiple, iterative changes resulting in massive increases in physical

size contrary to statute.

                   1.    The text of the rule does not justify the FCC’s
                         unreasonable interpretation.

         The FCC cannot and does not argue that its interpretation is

mandated by the rule’s text. It claims that when 47 C.F.R.

§ 1.6100(b)(7)(iii) says “[f]or any eligible support structure, it

involves…” the “it” refers to “[a] modification” in the opening of

1.6100(b), which the FCC concludes means the limitation applies to

each proposed modification. It finds similar support in the rule’s use of

“new” equipment cabinets. FCC 47; CTIA 29-30. Petitioners

interpretation, however, is equally likely: the FCC and CTIA do not

address the meaning of “but not to exceed four cabinets.” 47 C.F.R.

§ 1.6100(b)(7)(iii). The phrase means that, regardless of individual

“standard number” limits for each request, the cumulative total is four.

“But not to exceed” can impose a superseding cap on individual

requests. See University of Texas M.D. Anderson Cancer Center v.

United States Department of Health and Human Services, 985 F.3d 472,

481, n.5 (5th Cir. 2021).



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         The FCC tries to distinguish the height rules in subsection

(b)(7)(i) from the cabinet rules in Subsection (b)(7)(iii) because

“increase” must be relative to a baseline, FCC 49, but ground cabinets

increases are limited by volume in relation to a baseline as well in

Subsection (b)(7)(iii). So nothing about the meaning of the word “it”

demands an individual vs. cumulative limit. The FCC also cannot

explain how “it” in (b)(7)(iii), which addresses cabinets, must apply to

each request, but a parallel construction in (b)(7)(i) imposes a

cumulative limit on height. Subsection (b)(7)(i)(A) makes clear “it” does

not mean each modification with regard to height, so the word “it” as a

reference to “modification” cannot be the dispositive factor in

interpreting (iii). 47 C.F.R. § 1.6100(b)(7)(i), (i)(A), (iii).

         Nor is the FCC permitted to rebut Boston’s argument that the

rules do not have a defined meaning based on arguments made by

commenters, FCC 48-49, but not addressed by the Commission in the

6409 Rulemaking. SEC v. Chenery Corp., 318 U.S. 80, 95 (1943)

(“Chenery”).




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                   2.    Insubstantial cannot reasonably mean the maximum
                         change physically possible.

         Because the rule’s meaning is, at best, ambiguous, the FCC’s

interpretation must be reasonable. To be reasonable, it must be

consistent with the statute. The FCC has no explanation whatsoever for

its failure to consider the meaning of the statutory term in its Ruling.

The FCC erroneously claims that volumetric limits on ground cabinets

will constrain cabinets attached to the support structure, but the FCC

clearly stated those limitations do not apply to support structure

cabinets, only to ground cabinets. FCC 52 cf. Ruling n.85 (1-ER-19-20).

It also erroneously claims that the FCC’s decision to redefine “cabinet”

to exclude small pieces of equipment encased in their own housing does

not matter because “other substantial change criteria continue to

apply.” FCC 53-54. If small, housed pieces of equipment are no longer

cabinets, the FCC’s rules provide no constraint and the FCC does not

explain how other criteria could do so. In fact, nothing limits small,

housed equipment under the FCC’s rules.

         The FCC counters with an unsupported statement that the

number of cabinets may not be “unusually large” with no indication as

to what “unusually large” means. FCC 51-52. The FCC tries to

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circumvent Chenery by resorting to arguments made by parties, not its

own analysis, to counter Petitioners’ concern as to the total physical

increases permitted under the FCC’s Ruling. FCC 50-52. Even so, the

FCC, on brief, argues that an insubstantial change is actually the

maximum load that could be physically squeezed on a support structure

or a site, as a matter of engineering and space constraints.2 FCC 52.

This justification is not only absent from the FCC’s Ruling; it also

violates the statutory text. It admits that the FCC has converted a

statute that limits streamlined approval to modifications that do not

substantially change physical dimensions to mandating streamlined

approval for any change that is physically possible. Congress limited the

modifications which receive streamlined approval under Section 6409;

the FCC cannot thwart that limit.3




2If the FCC’s argument about small pieces of equipment, FCC 54, is
referring to the maximum load limits as the other limiting criteria, the
argument is even less applicable to small pieces of equipment as
compared with cabinets.
3Moreover, the court should not grant, because the agency does not
seek, Chevron deference for its interpretation—or lack thereof—of the
statute. HollyFrontier Cheyenne Refining, LLC v. Renewable Fuels
Association, 141 S.Ct. 2172, 2180 (2021) (declining to consider Chevron
deference when not invoked).
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         Considering the impact of cumulative increases is no mere

hypothetical. Contra FCC 52. Agencies are required to consider

“relevant factors” that can change the agency’s rule. American Min.

Congress v. U.S. E.P.A., 965 F.2d 759, 771 (9th Cir. 1992). The meaning

of the statutory text is the most important relevant factor. And the

record contained significant evidence of the large size of cabinets and

the consequences of unlimited sequential mandatory approvals of

additional cabinets. Boston 40-41; e.g., Wilmington Ex Parte Comments

at 15-19 (2-ER-142-146); infra I.B.

         CTIA claims Congress’ use of the statutory term “substantial” is

irrelevant, at 53-54, citing cases that recognize the term is ambiguous

and in need of interpretation. Nonetheless, the courts in both cases

concluded, in context, certain interpretations of the word were outside

the bounds of the statute. Life Technologies Corp. v. Promega Corp., 580

U.S. 140, 146 (2017) (substantial is quantitative); Pierce v. Underwood,

487 U.S. 552, 565 (1988) (substantial means “justified in substance or in

the main”).

         Substantial also must have a meaning in Section 6409 besides

“unlimited”: imprecision of the term does not empty it of any meaning.


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Here, the expert agency has found the addition of a cabinet that is ten

percent larger is “substantial.” The FCC also imposed a four-cabinet

limit. The Fourth Circuit, contrary to CTIA’s view, upheld “a numerical

definition of substantiality” that took context into account, but did not

permit a case-by-case evaluation of substantiality. Montgomery Cnty. v.

FCC, 811 F.3d 121, 130 (4th Cir. 2015) (“Montgomery Cnty.”). The FCC

cannot squire this analysis with a concomitant decision that unlimited

changes deserve streamlined, virtually automatic, approval. The FCC

must impose an outer limit, otherwise Congress’ use of “substantially

change” is rendered surplusage. Texaco Inc. v. United States, 528 F.3d

703, 708-09 (9th Cir. 2008) (quoting TRW Inc. v. Andrews, 534 U.S. 91,

31 (2001)).

                   3.    The court cannot defer to the FCC brief’s explanation
                         of “substantial.”

         Respondents’ defense of the cabinet rule further underscores why

the FCC’s unreasonable decision deserves no deference. The FCC

attempts to defend its decision by turning to parties’ positions on the

record, stating there are “‘practical ‘constraints on the number of

[cabinets] on a structure.’” FCC 52 (quoting CTIA Reply Comments at

18-19 (SER-71-72)). The Court should reject the FCC’s contention that

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practical engineering and space constraints mean the FCC’s

interpretation fall within the statute’s bounds. The FCC has tried this

tactic before, assuring the court that the FCC’s rules are not as extreme

as petitioners allege and obtaining a favorable court ruling premised on

the FCC’s explanation—and then reversing course.4 In a posture very

similar to this case, the Sixth Circuit reviewed a modification to federal

cable rules interpreting federal limits on local authority. The FCC

successfully fended off a motion for stay of its original decision,

explaining that the rules did not apply as Petitioners had alleged.

Montgomery Cnty. v. FCC, 863 F.3d 485, 490 (6th Cir. 2017). When the

FCC later determined that the rules did apply in exactly the manner

Petitioners originally claimed, the FCC pretended the rules had never

meant what the FCC originally told the court. Id. When confronted with

the agency’s contemporaneous interpretation of its own rule in a brief

before the same court, the Commission offered the same defense as it

does here, “the Commission is not bound by prior positions taken by its

lawyers.” Brief for Respondents at 24, Montgomery Cty. v. FCC, 863



4Moreover, as explained in the LOCC Reply, part IV, this is not a
hypothetical concern.
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F.3d 485 (2017) (Nos. 08-3023, 15-3578) (filed April 29, 2016), available

at https://www.fcc.gov/document/brief-fed-respts-montgomery-cty-v-fcc-

usa-6th-cir; FCC 64 (“‘staff level actions do not bind’ the agency’s

subsequent determinations”) (citations omitted).

         This behavior by a federal agency is untenable. The Court and

parties before it cannot function if it cannot depend upon the agency to

be consistent. As Boston explained, at 47-48, this is paradigmatic

example of when agencies should not be accorded deference under

Kisor: when the agency abuses deference and chooses to be

untrammeled by consistency or even the claims it makes to the federal

judiciary.

         B.        The FCC’s Choice of Declaratory Ruling Cannot
                   Excuse Arbitrary and Capricious Decision-making or
                   Defective Process.

         Even if the court were to determine it should defer to the FCC’s

choices under Auer v. Robbins, 519 U.S. 452 (1997), the lack of any

ultimate limit on the increases in physical size and number of cabinets

demonstrate the Ruling is arbitrary and capricious. Not only is its

reasoning internally inconsistent, but the FCC is wrong that APA

process requires nothing more than a bare notice and comment


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opportunity, or that parties must demonstrate they did not have an

opportunity to make particular arguments to prevail under the APA.

FCC 33. Declaratory rulings are reviewable under the APA and thus

must meet the arbitrary and capricious standard. FCC 24.

         In this case, the FCC “entirely failed to consider an important

aspect of the problem.” Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (“State Farm”). An

agency’s “reasoned analysis must consider the alternatives that are

within the ambit of the existing policy.” Department of Homeland

Security v. Regents of the University of California, 140 S.Ct. 1891, 1913

(2020) (cleaned up). Specifically, on brief the FCC side-steps Boston’s

point, at 44-45, that the FCC did not evaluate the interplay between its

redefinition of “cabinet” to exclude small pieces of equipment enclosed

in housing. FCC 54. If equipment is not governed by the cabinet rules, it

is almost impossible for equipment to be limited by tower height,

excavation, concealment or other permit conditions. The FCC also did

not consider the interplay between changing its view regarding the

distinction between pieces of equipment and cabinets in determining




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what would constitute a substantial change as it must under State

Farm, 463 U.S at 46-49; Boston 44-45.

         Moreover, it falls short as a rulemaking and the FCC’s decision to

use a declaratory ruling artificially cuts off options that Petitioners

could have offered if the FCC had noticed a rulemaking rather than a

declaratory ruling. For example, the FCC did not consider adopting a

new rule to govern small housed equipment. It did not consider

adopting a codified distinction between housed equipment and cabinets,

leaving localities with vague concepts that result in vast differences in

application of its rules. The harms from failing to use a rulemaking are

evident. The FCC could choose to act using a declaratory ruling, but not

to conduct a rulemaking disguised as a declaratory ruling, if it fails to

engage in the full rulemaking analysis required. Infra II.B.

II.      THE FCC DOES NOT DESERVE DEFERENCE FOR ITS
         NEW, ARBITRARY AND SURPRISING RULE REQUIRING
         EXPRESS EVIDENCE OF STEALTH CONCEALMENT,
         AESTHETIC OR OTHER CONDITIONS.

         A.        The FCC Receives No Deference Under Kisor because
                   It Has No Zoning Expertise and Its Ruling is Unfair.

         Prior to the FCC’s Ruling, local governments relied upon the

existing body of rules and case law in their jurisdictions to determine


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when the conditions attached to a permit could be abrogated. Boston 48-

51. After the Ruling, for a condition to survive a 6409 request under

Section 1.6100(b)(7)(vi), a locality must contend with vague wording

indicating that it must provide “express evidence that at the time of

approval the locality required the feature and conditioned approval

upon its continuing existence.” Ruling ¶ 42 (1-ER-25). They further

must produce “express evidence” that a stealth design was intended to

look like something else. Id., ¶38 (1-ER-23). This meaningless standard

should not be affirmed because the FCC possesses no expertise in

evidentiary standards for zoning conditions and the ruling is the

product of unfair surprise.

                   1.    The FCC does not receive Auer deference under Kisor.

         Respondents’ claim of Auer deference, FCC 24, 73, for the express

evidence standard fails because the FCC does not have the expertise to

determine what type of evidence is sufficient to demonstrate the

continued efficacy of a land use permit condition. The FCC’s lack of

expertise is evident from its non-existent justification of the ruling and




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lack of response to Petitioners concerns.5 FCC 66-67. The FCC claims

the area of law is unsettled, FCC 71-77, but ignores the body of common

law and local regulation which already establishes that conditions

“must be clearly defined, so that both the permittee and the adjoining

landowners are not left in doubt as to what was intended.” 3 Rathkopf's

The Law of Zoning and Planning § 61:49 (4th ed.). Thus CTIA’s

argument, at 38-39, that the Ruling was required because otherwise

permits conditions would “not exist” is wrong. There is no need for any

new evidentiary standards. See also supra Part I.B.1.

         “When the agency has no comparative expertise in resolving a

regulatory ambiguity, Congress presumably would not grant it that

authority.” Kisor v. Wilkie, 139 S.Ct. 2400, 2417 (2019) (“Kisor”). In

Kisor, the Court favorably cited a Tenth Circuit case that did not defer

to a Federal Energy Regulatory Commission analysis of common law



5Moreover, CTIA does not argue in support of the temporal portion of
the FCC’s interpretation of the rule, CTIA 36-41, 49-50, possibly
because it is well established that “[s]pecial use permits under zoning
ordinances run with the land [and] is available to any subsequent
owner, until it expires according to its terms or is effectively revoked….”
Cohn v. Cnty. Bd. of Sup'rs of Los Angeles Cnty., 135 Cal. App. 2d 180,
185 (1955); 4 Rathkopf’s The Law of Zoning and Planning §69:6 (4th ed.);
California Land Use Practice §7.34 (Cal. CEB 2022); Boston 50.
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property terms. Id. (quoting Jicarilla Apache Tribe v. FERC, 578 F.2d

289, 292–93 (10th Cir. 1978)). The Court favors judicial interpretation

of questions within a “judge’s bailiwick,” rather than an agency’s, such

as interpreting and applying state property and zoning law. Id. at 2417.

Like the FERC, the FCC has no expertise with respect to the existing

body of case law that determines the application of permit conditions.

Contra FCC n.6. In its three paragraphs considering the question, the

FCC did not display any expertise on this matter, nor did it even

attempt to determine the current state of the law. Ruling ¶¶ 41-43 (1-

ER-24-25).

         Petitioners respectfully request that this Court vacate the Ruling

requiring express evidence and conclude that existing state law as

interpreted by the judiciary is the appropriate means to decide whether

parties were on notice of a land use permit condition.

                   2.    The FCC does not receive Skidmore deference.

         Contrary to Respondents’ claims, FCC 24, the FCC does not

deserve Skidmore deference, which depends on “the thoroughness

evident in its consideration, the validity of its reasoning, its consistency

with earlier and later pronouncements, and all those factors which give


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it power to persuade, if lacking power to control.” U.S. v. Mead Corp.,

533 U.S. 218, 228 (2001) (quoting Skidmore v. Swift & Co., 323 U.S.

134, 140 (1944) (“Skidmore”)); Community Hosp. of Monterey Peninsula

v. Thompson, 323 F.3d 782, 791 (9th Cir. 2003). Moreover, “[a]n agency

interpretation of a relevant provision which conflicts with the agency's

earlier interpretation is ‘entitled to considerably less deference’ than a

consistently held agency view.” Id. at 792.

         The sum total of the FCC’s analysis is the “basic principle that

applicants should have clear notice of what is required by a condition

and how long the requirement lasts,” Ruling, n.123 (1-ER-25), which

draws on no expertise or analysis and does not explain the meaning of

“express evidence.” It thus deserves no Skidmore deference.

                   3.    The FCC’s process did not eliminate unfair surprise.

         Contrary to CTIA’s claim, at 51, the process used by the FCC did

not eliminate unfair surprise. The FCC waded into local zoning and

permitting to create confusion about decades of established legal

precedent with no warning. The term “express evidence” did not appear

in any pleading until the FCC released its draft order three weeks




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before the final vote.6 Infra II.B.2. Until the FCC released its draft

order, the FCC did not receive any comments about wireless companies

that claimed they did not know what conditions applied to their

permits. E.g., Joint Comments of the City of San Diego, Cal, et al. (2-

ER-290); Comments of the National Association of Telecommunications

Officers and Advisors, et al. at 10 (2-ER-269).7 The FCC and CTIA

cannot point to any proposal for any evidentiary standard regarding

continued application of permit conditions put forward by the industry

or the FCC.8 FCC 32-33; CTIA 59.



6The FCC’s draft order was released May 19, 2020, and on May 29 the
City Manager of Lakewood, Washington made the first mention of the
FCC’s new “express evidence” standard. Letter from John Caulfield to
Marlene Dortch, FCC, WT Docket No. 19-250 (filed May 29, 2020) (2-
ER-166-167).
7 The industry did complain that local government sought to enforce
existing permit conditions when eligible facilities requests were sought,
but did not complain land owners or wireless companies were unaware
of their obligations. E.g., AT&T Comments (filed Oct. 29, 2019)
(IndustrySER-82-83).
8 The WIA petition asked that the FCC clarify that the requirement to
comply with conditions associated with the siting approval would block
an eligible request only if the “proposed modification would cause non-
compliance with prior conditions imposed on a structure or site.
Importantly, this clarification would not prevent localities from
enforcing their codes and siting conditions.” WIA Petition at 15 (SER-
165). The Petition asked that concealment conditions be clear
“concealment elements are only those understood and expressly
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         None of the cases cited about unfair surprise, CTIA 51, were

decided after the Supreme Court narrowed Auer deference in Kisor.

Whereas in the cited cases, courts found agency interpretations of their

own rules were “controlling” unless “plainly erroneous,” e.g., Public

Citizen v. Nuclear Regulatory Com’n, 573 F.3d 916, 923 (9th Cir. 2009)

(“Public Citizen”), Kisor made clear that only “reasonable”

interpretations will suffice. Kisor, 139 S.Ct. at 2415 (the “plainly

erroneous” test “may suggest a caricature of the doctrine, in which

deference is ‘reflexive.’”)

         Unable to show the express evidence standard was articulated in

advance, CTIA argues surprise can be avoided if the FCC’s new

interpretations were merely ascertainable from the history and context

of the FCC’s prior 6409 Rulemaking. CTIA 51. But CTIA does not cite to

any language, nor is there any indication, in the 6409 Rulemaking that

the FCC might supplant or obscure existing land use evidentiary



approved as such at the time of the original approval of the site…” WIA
Petition at 12 (SER-162). To be sure, parties debated whether localities
must label or designate permit conditions as being related to
concealment, but did not debate an “express evidence” standard, and
certainly not as it related to other permit conditions. E.g., Reply
Comments of the City of San Diego, et al. at 69-70 (2-ER-209-10).
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standards with new evidentiary standards. Moreover, the precedent

CTIA does cite, Public Citizen, does not govern: the court used prior

agency analysis to consider whether new rules were consistent with

previous rules, not whether the new rules caused unfair surprise.

Public Citizen, 573 F.3d at 924. Longstanding agency inaction can

cause unfair surprise. Romero v. Barr, 937 F.3d 282, 296 (4th Cir. 2019)

(citing Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 155–57

(2012)).

         B.        The Deficient APA Process Caused Harm and
                   Produced an Arbitrary and Capricious Result.

         The FCC and CTIA deny the FCC adopted new rules, but in any

event claim that, if all else fails, the Ruling should pass muster as a

notice and comment rulemaking.9 FCC 25, 33, CTIA 52. It does not.




9 The FCC also defends its decision here because it is an interpretive
rule which does not require notice and comment under the APA. FCC
30. If the rules are upheld because they are interpretive only, they also
“do not have the force and effect of law.” Perez v. Mortg. Bankers Ass'n,
135 S.Ct. 1199, 1208 (2014). Petitioners disagree the Ruling is an
interpretive rule, but Petitioners also respectfully request this Court
take care to be explicit on this point if it affirms the agency. The FCC
should not be permitted to impose a legislative rule with the light touch
procedures of an interpretation.
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                   1.    The FCC failed to consider alternatives, explain how
                         its ruling addresses the record, or explain its change in
                         position as required by the APA.

         The express evidence ruling is arbitrary and capricious in light of

the record, as demonstrated by CTIA’s brief, at 57-59.10 CTIA dedicates

many pages making the case against imposition of new conditions after

a permit is issued. CTIA 36-41, 48. But the FCC’s Ruling about express

evidence vastly exceeds a concern with post hoc permit conditions

because it will eliminate many conditions imposed at the time of

issuance. If the FCC had used a rulemaking proceeding, and

determined it must adjust its rules to address localities that impose

post hoc permit conditions, it would have had to explain why it did not

adopt a rule more directly targeted to the problem. Alternatively, it

would have had to explain why it did not adopt a new rule to do so. For

example, in State Farm, the Supreme Court described NHTSA’s error in




10CTIA incorrectly claims Petitioners waived logical outgrowth
arguments. CTIA 56. “Logical outgrowth” is part and parcel of the
judicial evaluation of adequate notice under the APA and the harmless
error doctrine. E.g., Sprint Corp. v. FCC, 315 F.3d 369, 376–77 (D.C.
Cir. 2003) (“Sprint Corp.”). There is no question from the opening briefs
that Petitioners and Intervenors complained of insufficient notice and
explained the error was not harmless in their opening briefs. See CTIA
56 (citing LOCC 47).
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failing to consider the alternative of mandatory airbags as compared

with passive seatbelts. State Farm, 463 U.S. at 46-49; Center for

Biological Diversity v. National Highway Traffic Safety Admin., 538

F.3d 1172, 1193 (9th Cir. 2008). Petitioners were deprived of the full

expanse of an APA rulemaking when the FCC changed issued its

Ruling. Kisor, 139 S.Ct. at 2434 (Gorsuch, J., concurring).

         Similarly, a key element of the APA obligation is to acknowledge a

change and explain it. Western Watersheds Project v. Kraayenbrink, 632

F.3d 472, 495 (9th Cir. 2011); FCC v. Fox Television Stations, Inc., 556

U.S. 502, 515 (2009). But here the FCC did not acknowledge a change,

depriving Petitioners of process and rational decision-making

guaranteed by the APA.

         Because the FCC was attempting to make a rule change without

following the required APA procedure, it tied itself in knots

“interpreting” the codified words rather than consider more sensible

changes to the rule. Boston 53-54. Therefore, the flawed process is not a

harmless error because it deprived Petitioners of FCC reasoning and

analysis that would have occurred if the FCC had not artificially closed




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off the possibility of changing the FCC’s rules. Id. This is particularly

concerning because the FCC now justifies its decision as a rulemaking.

         And the rule is also arbitrary and capricious because, rather than

directly addressing imposition of post hoc conditions, the FCC adopted a

sweeping rule that will reach many, many conditions that were adopted

with the original permit but that cannot meet the Commission’s new

evidentiary standard. The FCC’s reasoning was limited to one sentence,

that the FCC’s new rule was based on the “basic principle that

applicants should have clear notice.” Ruling at ¶¶ 40-43, n.123. But “an

agency's determination is arbitrary and capricious where it merely

provides ‘generic statements’ to support its conclusion in lieu of

evidence that it has actually applied its substantive expertise.” Los

Padres ForestWatch v. United States Forest Service, 25 F.4th 649, 657

(9th Cir. 2022).

                   2.    Two weeks to comment on a unpublished draft order
                         does not constitute notice and comment under the
                         APA.

         As two other circuits have found, and this court should find, the

comments directed to the FCC’s release of an unpublished draft order

do not remedy the lack of a full APA process as the FCC claims.


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FCC 33; see also CTIA 59-60. The Boston, Massachusetts comment cited

by the FCC, at 33, was in response to the FCC’s unpublished draft

order, issued three weeks before the Commission vote and when only

two weeks remained before the agency’s sunshine rules prohibited

further public comment.11 Public Notice, Commission to Hold Open

Meeting (June 2, 2020) (FER-3-4); 47 C.F.R. § 1.1203. Similarly, CTIA,

at 59-60, cites many pleadings it claims anticipated the FCC’s actions,

but only two were submitted before the release of the draft order and

none of those addressed evidentiary standards. This Circuit should

affirm that a final opportunity to comment on the release of a draft

order, not published in the federal register, is insufficient to cure any

notice deficiencies under the APA. National Lifeline Association v. FCC,

921 F.3d 1102, 1117 (D.C. Cir. 2019) (“National Lifeline Association”);

Citizens Telecommunications Company of Minnesota, LLC v. FCC, 901




11In 2017, the FCC began voluntarily releasing draft orders three
weeks before a Commission open meeting and vote. Federal
Communications Commission, Press Release, FCC Chairman Pai Takes
First Step to Increase Transparency of Rulemakings (Feb. 2, 2017),
https://transition.fcc.gov/Daily_Releases/Daily_Business/2017/db0202/D
OC-343300A1.pdf. While this is a useful new practice, it cannot be
permitted to side-step the APA.
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F.3d 991, 1005-1006 (8th Cir. 2018); see also Prometheus Radio Project

v. FCC, 652 F.3d 431, 453 (3rd Cir. 2011) (“Prometheus Radio”).

         The FCC insists parties must explain what they could have filed

with more time. FCC 33. Not only is that untrue, supra I.B, but the

FCC left itself with insufficient time to consider the comments filed in

the two weeks before it voted so the opportunity to submit comments

was inadequate.

         The deficient notice combined with a brief period for ex parte

comment after release of the draft order was not harmless error. Contra

CTIA 57-59; LOCC 45-47. Because the “express evidence” standard was

not enunciated until release of the draft order, parties had only two

weeks to comment upon it. In contrast, the D.C. Circuit has found “a 30-

day comment period is generally the shortest time period sufficient for

interested persons to meaningfully review a proposed rule and provide

informed comment.” National Lifeline Association, 921 F.3d at 1117.

The Third Circuit rejected, as deficient, a vote that had occurred within

a week of the response deadline and a draft order that was circulated

before comments were received. Prometheus Radio Project, 652 F.3d at

453; see also North Carolina Growers’ Ass’n, Inc. v. United Farm


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Workers, 702 F.3d 755, 770 (4th Cir. 2012) (10 days insufficient for

comment on rule suspension). In this docket, in the early months of the

COVID-19 pandemic, with national protests occurring in streets, the

FCC would not extend the comment period on the draft order when

sought by local governments after it gave the public its first look at the

new express evidence standard. LOCC 21-22; Ruling (1-ER-61-62)

(Rosenworcel, dissenting); Local Government Associations Request

letter (May 22, 2020) (FER-1-2). The purposes of notice and comment—

to ensure an “exchange of views” while the FCC had an open mind, to

test the proposed rule and develop evidence—was not fulfilled.

Prometheus Radio Project, 652 F.3d at 449–50; Time Warner Cable Inc.

v. FCC, 729 F.3d 137, 170 (2d Cir. 2013) (“general notice that a new

standard will be adopted” insufficient) (citations omitted). The three

paragraphs enunciating the express evidence standard did not evidence

an open mind; they did not change after the draft order’s release, except

for the addition of one footnote stating the FCC’s its new rule was based

on the “basic principle that applicants should have clear notice.” Ruling

at ¶¶ 40-43, n.123 cf. Draft Order, ¶¶40-43 (SER-23-24). The FCC did




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not cite on brief any filings that addressed the meaning of “express

evidence” submitted before release of the draft order. FCC 73.

         To permit the FCC to justify its flawed notice using the

unpublished draft would provoke the exact harm forecast by the D.C.

Circuit:

         broadening the harmless error rule would virtually repeal section
         553's requirements: if the government could skip those
         procedures, engage in informal consultation, and then be
         protected from judicial review unless a petitioner could show a
         new argument—not presented informally—section 553 obviously
         would be eviscerated. The government could avoid the necessity of
         publishing a notice of a proposed rule and perhaps, most
         important, would not be obliged to set forth a statement of the
         basis and purpose of the rule, which needs to take account of the
         major comments—and often is a major focus of judicial review.

Sprint Corp., 315 F.3d at 376–77. (quotation omitted).12 The FCC may

not be permitted to do so here.




12If the FCC were correct that the draft notice was sufficient, and the
only means to successfully demonstrate the APA process was legally
deficient was to note arguments Petitioners could not make if they had
sufficient notice, it would counterproductively pressure parties not to
share their concerns with the agency or lose their claim in court.
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III. THE FCC’S INTERPRETATION OF CONCEALMENT AND
     ITS SHOT CLOCK RULING ARE ARBITRARY AND
     CAPRICIOUS.

         The FCC’s other rulings are arbitrary and capricious because they

are flawed in their analysis and do not fully take into account the

record. And the FCC cannot defend them as harmless error because the

FCC omitted considerations that must be included in an APA

rulemaking.

         A.        The FCC Does Not Acknowledge a Change or Explain
                   its Reasons for its Concealment Ruling.

         The FCC argues that its interpretation of “concealment” to mean

“stealth”—i.e., in disguise as something else—passes muster relying on

detailed analysis of its rules and 6409 Rulemaking. FCC 54-59. The

FCC does not explain, however, how its Ruling surpasses the arbitrary

and capricious standard under State Farm. In fact, its arguments on

brief demonstrate the analysis that the FCC should have done as the

product of a full APA rulemaking.

         When the FCC originally adopted its rules on concealment, it

found that the statute did not override all conditions on the appearance

of wireless facility installations. Montgomery Cnty., 811 F.3d at 131.

Analogizing to building codes or noise ordinances, it found Congress did

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not intend to exempt compliance with some conditions and that such a

ruling was widely supported by industry and local governments alike.

6409 Rulemaking, 29 FCC Rcd. 12865, ¶200, 202 12949-51, n.543

(2014). That decision makes sense: a complex antenna array or bright,

reflective metal cabinet can make a substantial impact on a

surrounding neighborhood. No one wants to see a spaceship in the

middle of their desert vista. E.g., Sprint PCS Assets, L.L.C. v. City of

Palos Verdes Ests., 583 F.3d 716, 725 (9th Cir. 2009).

         The industry petitions which initiated the Ruling alleged that

some concealment rules were being expansively interpreted to defeat

the statute’s purpose. If that were true—and Petitioners do not concede

that they were—the FCC, under the APA, could have crafted a new rule

to distinguish problematic concealment from concealment that was

perfectly reasonable and consistent with the FCC’s previous

understanding of the rule, as explained to the Fourth Circuit. Boston

31-33. It did not. Instead it retroactively interpreted “concealment” to

mean “disguised” which does nothing to address a bright silver

mechanical structure that is now permitted to rise above a parapet or a

wall under the FCC’s new interpretation—with no process and no


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additional conditions, because it is “deemed granted” within 60 days

pursuant to federal law unless the wireless company neglects to submit

sufficient information about the size of the structure. 47 C.F.R.

§ 1.6100(c)(4).

         Under the State Farm precedent in this circuit, Center for

Biological Diversity v. Haaland, 998 F.3d 1061, 1067 (9th Cir. 2021), the

FCC must explain how its ruling addresses the comments before it. As

described above, supra II.B.1, the FCC would have had to consider

whether amending its rules would have better addressed the problem it

was considering. Under a declaratory ruling or a rulemaking, it must

reconcile its prior decision that some concealment elements should be

protected. It must explain its change in analysis and the facts

underlying the change.

         The arguments in the FCC’s brief, at 59-62, illustrate the

problems that arise because the FCC refused to consider a rule change.

A rulemaking could directly address how to treat a wall that is both a

safety feature and a concealment technique. FCC 60-61. A rulemaking

would have allowed stakeholders to suggest new codified text that

would logically address the concern. Commenters pointed out the flaws


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in this FCC’s procedure, National League of Cities Comments at 3 (2-

ER-244), but they were never given notice the FCC would change its

rules. The FCC did not seek comment on rule changes and thus

appropriate rule changes were not offered. Nor did the FCC explain why

it did not use a rulemaking procedure when the parties sought one.

         B.        The FCC’s Shot Clock Ruling Arbitrarily Permits
                   Automatic Approval of Modifications Without
                   Compliance with Safety Rules and Standards.

         Under the FCC’s interpretation of the shot clock rule, a federal

deemed granted permit will issue at the expiration of the shot clock, so

long as the wireless company has demonstrated its modification meets

the eligible facilities request’s size rules and has taken the “first step”

in the process and the local government fails to approve or deny the

requested modification—and nothing else. In response to Petitioners’

arguments that the shot clock rule is arbitrary and capricious, the FCC

complains, at 37, that Petitioners do not define a filed application.13 But

the FCC’s Ruling does not explain how local governments can insist

wireless companies demonstrate compliance with existing health and

safety rules, which the FCC acknowledged—as it must—that local


13   See LOCC Reply at part II.A.
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governments should enforce. Ruling, ¶ 23; 6409 Rulemaking, 29 FCC

Rcd. at ¶202, 12949-51; National League of Cities Comments 8-10

(companies should be required to show compliance with radio-frequency

emission limits needed for EFRs) (2-ER-248-250).14 The FCC rejected

these requests and failed to address how its Ruling would enable local

governments to be sure that the application would comply with existing

health and safety rules that would otherwise be part of an application,

creating ambiguity and confusion when local governments do their jobs.




14Nor does the FCC at 35, n.8 sufficiently address the interplay
between its new ruling and the prior one. This claim, on brief, that one
rule does not supersede the other does not appear in the Ruling and
would be vulnerable to change in the future. Supra I.A.3.
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   IV.      THE COURT SHOULD VACATE THE FCC’S RULING.

            The Administrative Procedure Act requires the reviewing court to

   “hold unlawful and set aside agency action” which fails the statutory

   standard. 5 U.S.C. § 706(2). We respectfully request the court vacate

   the flawed Declaratory Ruling as requested herein.

            Respectfully submitted,

By:       /s/ Cheryl A. Leanza
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   Dated: March 31, 2023




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                          CERTIFICATE OF SERVICE

         I, Cheryl A. Leanza, hereby certify that on March 31, 2023, I

electronically filed the foregoing Reply Brief with the Clerk of the Court

for the United States Court of Appeals for the Ninth Circuit by using

the CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the CM/ECF system.




March 31, 2023                                         /s/ Cheryl A. Leanza




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